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     The Law Offices of Olaf W. Hedberg
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5

6                             IN THE UNITED STATES DISTRICT COURT

7                          FOR THE EASTERN DISTRICT OF CALIFORNIA

8

9
                                                       Case Number: 12-CR-00198-MCE
10   PEOPLE OF THE STATE OF CALIFORNIA
                                                       DEFENDANT TRAVIS OLIBAS' WAIVER
11                                                     OF PERSONAL APPEARANCE
12   V.

13
     TRAVIS OLIBAS ET AL.
14

15

16
            Pursuant to Rule 43 of the Federal Rules of Criminal Procedure, defendant, TRAVIS
17
     OLIBAS, hereby waives the right to be present in person in open court upon the hearing of any
18
     motion or other proceeding in this case, including, but not limited to, when the case is set for
19
     trial, when a continuance is ordered, and when any other action is taken by the court before or
20
     after trial, except upon arraignment, plea, empanelment of jury and imposition of sentence.
21
     Defendant hereby requests the Court to proceed during every absence of his which the Court
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     may permit pursuant to this waiver; agrees that his interests will be deemed represented at all
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24
     times by the presence of his attorney, the same as if the defendant were personally present; and

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1    further agrees to be present in court ready for trial any day and hour the Court may fix in his

2    absence.

3                           The defendant further acknowledges that he has been informed of his rights under Title
4    18 U.S.C. §§ 3161-3174 (The Speedy Trial Act) and authorizes his attorney to set times and
5    dates under that Act without his personal presence. The original signed copy of this waiver is
6    being preserved by the attorney undersigned.
7    Dated: JULY 30, 2012
8
                                                                         /s/ TRAVIS OLIBAS
                                                                        (Original retained by attorney)
9

10
                                   I agree and consent to my client’s waiver of appearance.
11

12
     Dated: JULY 30, 2012                                               /s/ Olaf W. Hedberg
13                                                                      Olaf W. Hedberg
                                                                        Attorney for TRAVIS OLIBAS
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16
                            IT IS SO ORDERED.
17

18   Dated: August 2, 2012

19                                                           __________________________________
                                                             MORRISON C. ENGLAND, JR
20                                                           UNITED STATES DISTRICT JUDGE
     DEAC_Signatu re-END:




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